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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ELLEN GERHART, et al.,                             :
    Plaintiffs                                     :           No. 1:17-cv-01726
                                                   :
              v.                                   :           (Judge Kane)
                                                   :
ENERGY TRANSFER                                    :
PARTNERS, L.P., et al.,                            :
    Defendants                                     :

                                              ORDER

       AND NOW, on this 14th day of December 2018, upon consideration of Defendants’

motions to dismiss (Doc. Nos. 17, 19, 33, 47), and in accordance with the Memorandum entered

concurrently with this Order, IT IS ORDERED THAT:

   1. Defendants’ motions to dismiss (Docs. Nos. 17, 19, 33, 47), are GRANTED AS
      FOLLOWS:

          a. Plaintiffs’ federal law claims asserted in Counts I, II, and IV of the amended
             complaint (Doc. No. 49-1), against Defendants Sheriff William Walters and
             Deputy Sheriffs Jeffrey E. Leonard, Nathan Betts, and Daniel McCartney are
             DISMISSED with prejudice;

          b. The following claims against the following Defendants are DISMISSED without
             prejudice to the Plaintiffs’ filing of a second amended complaint in this matter
             within thirty (30) days of the date of this Order that corrects the pleading
             deficiencies identified in the Memorandum issued concurrently with this order:

                    i. Plaintiffs’ federal and state law claims asserted in Counts I, II, III, IV, V,
                       VI, VII, and VIII of the amended complaint (Doc. No. 49-1), against
                       Defendants Energy Transfer Partners, L.P.; Sunoco Pipeline, L.P.; and
                       Sunoco Logistics, L.P.;

                   ii. Plaintiffs’ state law claims asserted in Counts VI, VII, and VIII of the
                       amended complaint (Doc. No. 49-1), against Defendant TigerSwan, LLC;
                       and

                   iii. Plaintiffs’ state law claims asserted in Count VII of the amended
                        complaint (Doc. No. 49-1), against Defendant Nick Johnson; and
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2. The Clerk of Court is directed to TERMINATE Defendants Sheriff William Walters and
   Deputy Sheriffs Jeffrey E. Leonard, Nathan Betts, Daniel McCartney, Larry Cressman,
   and Nathan Goshorn from the above-captioned action.



                                                   s/ Yvette Kane
                                                   Yvette Kane, District Judge
                                                   United States District Court
                                                   Middle District of Pennsylvania




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